EXHIBIT
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© CANADA'S'VAST AND UNSPOILED LANDS - OUR SOURCE OF INSPIRATION AND FRESH REGIONAL INGREDIENTS
‘Dar AWLP SL LLU. SACRA CALUMET Sa LI

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WHOLE PREY DIET Psy LOCAL FRUITS & VEGETABLES Rte ae) aT TH
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CHAMPIONPETFOODS.COM

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WHOLE PREY DIET”

  

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WHOLE PREY FOODS
All dogs are carnivores, designed to thrive on Whole Prey” such as fish or
tow that perfect match thar nutrient needs, ORUEN features al! throe
Whole Prey" elements — meats, select organs and cartilage to mirror your
dog's natural diet, nourishing him as Mother Nature intended.

HOURRITURE A BASE DE PROIES ENTIERES

Tous les chiens sont des carnivores et ont ainsi besoin de proies entiéres,
comme du poisson ou de ta volailte, pour combler complétement leurs
besoins nutritionnels, Afin d'étre & Cimage du régime naturel, ORUEN
renferme les trois ééments qui composent une proie entiére, soit de la
Viande, des organes et des cartilages.

 

 

BIOLOGICALLY APPROPRIATE FOOD or FRESH REGIONAL INGREDIENTS
Here at Champion, our mission is clear and strong: we make BIOLOGICALLY APPROPRIATE™ Dog and Cat foods from FRESH
REGIONAL INGREDIENTS, Our award-winning ORIJEN foods feature an unmatched variety of ranch-raised meats, cage-free
poultry, nest-laid eggs, wild-caught fish and sun-ripened [ruits & vegetables — all grown close to home by people we know and

 

AWARD-WINNING FOODS, AWARDING WINNING KITCHENS

jonate about the AUTHENTICITY of our foods. Our FRESH
ed in our ran »y people we know and trust,
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trust, and delivered to our kitchen doors FRESH EACH DAY, so they're bursting with flavor and goodness to nourish completely.

NOURRITURE ADAPTEE aus vc BESOINS PHYSIOLOGIQUES a acco D'INGREDIENTS REGIONAUX FRAIS

et ambitiouse : pr ire AUX BESOINS PHYSIOLOGIQUES
FRAIS, Nos n ées

animaux élevés sur des ranchs, de volailies élevées en liberté, d’uls pondus au nid, de poissons sauvages, sinsi que de fruits et Legumes méris au
soleil lesquels sont tous des produils des environs qui nous sont irés FRAIS TOUS LES JOURS, débordants de saveurs et de sienfaits,

 

Ach

  

 

 

Reinhard Muhlentetd

  

(Sin CR Lise Gates, unites odes RET PSU

 

dw
su ha hone weet nr goes into each and every morsel,
We wouldn't have it any other way, We believe you wouldn't either,

NOURRITURES PRIMES, CUISINES PRIMES

Nous avons & coeur de produire des nourritures AUTHENTIQUES. Les
ingrédients régionaux FRAIS que nous employons nous sont livrés par des
gens de confiance. Nous préparons ORLIEN nous-mémes, dans nos cuisines
primées; nous savons donc exactement ce qui compose chaque morceau de
os nourritures,

 

Nous ne voudrions pas qu'il en soit autrement et vous non plus d’ailleurs!

  
  
  
  
 
 
 
 
   
 
 
  
 
 
 
  
 
  
   
 

 

  

 

 

 

EN ORIEN REGIONAL RED BloLocicaLiy aPPRoPRIATEDos Foon © INGREDIENTS GUARANTEED ANALYSIS

All dogs are evolved as carnivores. designed by Mother Nature to thrive on Whole Prey such as fowl or Boneless Angus beef beef lv Crude p , Bx y 25%

fish, and possessing a biological need for a diet rich and varied in fresh whole meats supplemented ee pore liver, Ta aes ee pet oat aed Bgeioie Crude fat {min.) 18% "Omega-3 (min) 08%

with smaller amounts of fruits, vegetables and grasses. gel sermon et ah (Crude fiber (max) 5% "DHA (mi He Osx
‘red lentils, chickpeas. gran peas: yellow peas, green a er es oil, pea a ‘ee Bags Gx

 

That's why RIJEN REGIONAL REO featur franch= fiber, yams, sun-cured alfalfa, pumpkin. butternut squa:

 

gre
raised Black ‘Angus beef, wild boar, lamb, heritage pork and bison —all ranched within our region and carrots. Red Delicious apples. Bartlett pears. cranberries, tiueberies, Sed Calcium (minmax) 1.6/1.9 % ‘cuzocamine (min) 400 mg/kg
i 136%

delivered FRESH EACH DAY. so they're brimming with goodness to nourish completely. apricots, kelp, licorice root, angelica root. fenugreek.

fennel int leaf, chamomile, dandelion, summer savory. rosemar
Loaded with the protein-packed animal ingredients (75%) your dog is evolved to eat. ORUEN's | sium opplement vitamin D3 supplement viamin€ supploment nag
zine proteinate, iron CALORIE CONTENT & DISTRIBUTION ~ NE (calculated metabolizable energy) 3760

 

low-glycemic formulation reduces unwanted carbohydrates to appar healthy blood sugar levels and riboflavin, fol acid biotin. vitamin B12 supplement

‘not recognized as essential by the AFCO dog food nutrient profiles,

better mirror your dog's natural diet, proteinate, manganese proleinate. copper proteinate, selenium yeast. dried keaUkg U8 kcal per 280rl cup) (1209 Caloris dsirbued fo suppert peak physical

Prepared from Canada’s best and freshest ingredients in our award-winning kitchens, ORLJEN keeps Enterecoccus faecium fermentation product

your dog happy. healthy and strong — read our ingredients and we think you'll agree! Groene Res AED A REE BA A NERC OL

onssiiening with 39% rom protein 19% Irom frls and vegetables, and 2% fom fa,

C0 ANGUS BEEF LB EDAR LA NCRTACEPOAKAMOLOCALTRUTS CAJON REOKNAL RD ORMUATTO To WET THE HUTTON, LEVELS ESTARLICD YE

TEAGHOAY. —_AAFCODOG FOOD NUTRHENT PROFILES FOR ALL UF:

 

 

 

 

 

 

 

 

FR ORWJEN REGIONAL RED ‘AUMENT comPLeT Pour cHiens COMPOSITION CONS UNS ANALYTIQUES
Par nature, tous les chiens sont des carnivores et ont besoin d'un régime varié et riche en viandes angler BX — Oméga-é 28%
entiéresfraiches. composé de petites portions de fruits, de légumes et dherbes. fate 80 ioe gpa tos ny bat sat ape ssa Mates ues bret 18x Omigns aa
JEN. daptér be ti r ) tripes nutes

suf ison frais: yras d'agneau G2). ceufs entiers trai Fibres brutes 5% EPA 03%
‘de banat Black Angus de Sagneau, de pore de race patrimoniale et de bison tous provennt de teas Gorter gan caren Bs aa a Calcium 18% Glucosami 400 mg/kg
la région et Livres FRAIS TOUS LES JOURS, af doffrir une alimentation compléte 4 vot oA a sets Phosphore 13% — Chondroitine 250 mg/kg
Regorgeant de viandes débordantes de protéines (75%), notre préparation & faible tae alent ie en ep

    

permet de limiter la quantité de glucides non aerate et favorise une condition physique optimale. Maas: bei ennai

Préparé dans nos cuisines primées& partir des ingréiens ls plus frais au Canada, ORUEN REGIONAL oom gurl Adsl nent anne 1 00U ane
RED est un moyen de garder votre chien heureux, sain et fort. Lisez la liste de nos ingrédients. Vous El ter 1. ‘Img. E4 icuivre). 13 mg. ES
serez convaincu! frie ea

   

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fue, fenoull dou feulles de menthe poivrée. camomille matricaire, 3vant voir sur emballage, Contarar dane un andro ec al rai

VALEUR CALORIGENE EM = 3980 keal kg ou £48 kcal par 250 mou 1209-373 prowanant
SPI | ae mes tr easier Vere ace oeee

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1. mg. Ezine). pRogutT AU CANADA PAR CHAMPION PCTFOUS LF, 03-1 AY MORDOLLE ALDCRTA CANADA

yuan 03 hy. Aaa aoryeans Creer de fagon nature TB Cnc cabo cn Pare Pan Mb Rane 3. EE
-SWANADCOS

249 DOULIGNT TeL.2329.7,9041, MOFRANCE'

 

DE oRWEN REGIONAL RED ALLENFUTTERMITTEL FURMUNOE ANALYTISCHE BESTANOTEILE ES OREN REGIONAL RED [AUMENTO COMPLETO PARAPERROS  CONSTITUYENTES ANALITICOS
Ate Hunde sin vq Nalur aus Fescheser und sami ausgeit wine Evang. de aus Renprota 28% Todos tos prros han evelucionade come camivoros.agapiados para una dita rea y vaiada en cames 36x
Sarena rca eh, om aren Hoge Ge Gams rise be Fonte {84 escas con una peqena catidad de rues. verdrasyhierba. Hatria grasa ie
Rohasche 2 Poresta molvo, ORIEN BelgicarenteApropiado se caacterza po incomparabes mclsiones de came _Cevizasbrulas 9
Farmhaltung, Wildsehwein-, Lamm, Schweine- und Bisonfieisch — alles "yeuion FRISCH geliefert. tir Rohfaser 5% de res Angus, haba ‘cordero, cordo y bisonte = todes eniregades FRESCOS TODOS LOS DIAS para una Fibra 5%
i ; Kalsum/Phosphor(P) 1.4X/13%  completanuinaén Calo Féstoro(P) 16x13
Reza engvete heya uur ee besten Krperihe Kendo. Omegars Omega, 25L/08% — Repleto con neas y nutrtvas protelnas cémicas (75%), la trmla baja en azicar de ORIEN reduce lok Omega-é/Omega-3 252 /08%
Zuaten OHATEPA 05%/03% _ indnveesiescrtohicatosyrouerza un maximo acondcronarionto ss, DHAY EPA 053/035
hergestlt und eral Ihren Hund gesund und sar. Panren See mehr ther unsere Zutaten und wir Glukosamin 400 mg/kg Glucosamina 400 mg/kg
Gerken. dass Sle uns zstinmen wer Chondroitin 250 mg/kg perfo salusabley fuerte Lea nuestros ingreenlesyertard de acuerdo con neaatroa! Conereitna 250 mary

 

ZUSAMMENSETZUNG. Frisches sane Gs Tac Wadsttnch Racin Lorman Om, nee, Roa Gi ech

 

 

 

 

   

 

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gelrocinetar Hering 4). getrockneter La trace Eee 20,
seer oe eine Gotan groneLiaee Hormpa a, Eeseiee momar Nate Kurbs Berar Karis Spratt amotan Role St ee 32. eros roscos 0), areas rojas, garbanzoe qusares verdes lenaas rojas cate de arenaut

 

vecada calaera calabaza de invierno,expinaces
‘igas marinas ralz de regal rale de angdtca Tenogrec

 

Baku Reta Bare Bren. Meesearen Sena. Sidhoswaradn, Anatase, Fechet RageBlamen sider Pench Petes ete,

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ics INSIRUCCONES. Carat ub Nimere dll ch 8 adc

FABRICATE, CHAMPION PETFOODS LP. 9509-90 AVENUE. MORINVILLE ALBERTA CANADA. T8@ IK7. EC COIL. MPORTADOR, MASALE PRODUCTES. SL = 7902 685 S3

IMPORTIERT OURCH TZ GROSSHANDFLS GMBH ZEPPELINSTRASSE 4 64740 SAARI OUIS TEL. 0800 7732378 WW/YLCHAMPIONPETEOODS,DE WOW AEANASP ON
svaror woos comrBETeTo
SE  oRIJEN REGIONAL RED roNPLETTeLrovenroRHuNOKR  GENOMSNITTLIGTANALYSvARoE © RU ORIJEN REGIONAL RED TONES ANAM
Alla hundar dr utvecklade till rovdjur. anpassade til en kost rik och varierad av f8rskt kott med mindre Réprotein 38% — Mo ceoek npupoge ace cobaKy — xamuniKn. OHM Seanoreweni ‘agantwposans: x paunony Goraromy  Mporew 38%
méngder trukt. gronsaker och érter Fettinnehsit 18% —_ pasHoo6pasieinn sHaaHN Maca c He BoneuMM KonAYecTBOM cbpyios, OBOULEM M TPR. Kup 18s
Det ar darfér biologist korrekta ORIJEN innehiler omatchade mangder meckst fran Angus Bit vildsvin, ay [Buonorwveckn coorsercreyioulnit Kop ORIEN conepxorr Maco BeIpalyeHnbic Ha ooops Geixos Axrye, ioe is 3
oben an ‘

sm. bison och heritage pork. allt evereras farskt varje dag fér att ge bastanaringen. Fiber  aSanee, aniar, cnnel w 6u20H00, Boe atu wirpeaenTo: gocTasnabTea cB

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

Kalcium Foster) 151113 Goraran waco (5) Hix tennvecras dopey OREN cxnepmT nonieence xonmecren amet arte?
animaliska ingredienser (75%). alt fer att ge basta fSrutsattningama til Din hund. DHA/EPA 05%/03% PK /3nk
areata fay prisbeldnta kdk frén Kanadas basta ingredienser. hitler ORUEN REGIONAL RED Din bund —Glukosamin 400 mg/kg ‘Maroroenentti Ha sel onaeverinoh napa (H paSpune H3 AyVUMX KAHARCKMX HHTPERMOHTOR. KOPM — TroxosaMM
rk Lis vara ingredienser och vi tror att du haller med. Kondroitin 250 mg/kg ORVEN noseanaer coxpanins snoposve W Ciny Baweh cobar,
SAMMANSATTNING. Firs bent Bi Anguskdt (frat bennt idevinsk GX), farakt bent arms G3), frst lever fSakt Bent WHrPEnWENTL ti (6), crores ace capean
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TARAS Guuronperrocosun, save momo. a CAVA TR FED IwronTnas iv ROBeRG sRORERG CO AB SVARVARUKGEN TO SERED Fora Gur FETC? ese ab Meningie APMEETA RARAA TA Tne
CZ ORIJEN REGIONAL RED KOMPLETNIKRMIVO PRO PSY ANALYTICKE SLO2KY PL. ORWJEN REGIONAL RED PELNOPORCIOWA KARMAOLA SOW SKLADNIKI ANALITYCZNE

 

 

   

 

   

 

 

 

 

 

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's malym mneistvim ovece, zeleniny a bylin. sah tuky 184 warzywizi Oj Tuszczesurowe 18%

8% arma ORVEN polna jest réénorodnych gatunkéw czerwonego migsa ~zawiera wolowing Black Angus, apil surowy ax

cei 2 rasa kth bares, abot, prasta 4 tonne zweifch Cher, VBezin Sune 1200 na 5% mgso daa, jagngcing. wleprzowing oraz migso bizona, Skladnit aq dostaczane do kuehni Champion Woke surowe ane

ocr 5 ore somone VERS SHER KabbEGO'DNA Farms boats w wychabihowe slr pcodzenszvierpege 3.2 Omega Omegied 284/384

2 podperuevrcholneu kona. OHAy 254/08 ranicony late zo¢doych weglowedansw ieanie ofewercieanaturaina dey pst Gmepet Eeeiay

Slukozarina 200 mark

ARLEN REGIONAL RED  prernda vai cena otntnt hich kh raph kaadshjeh sro Glakosama 200 mgikg akg

Dixy ORUENU Bude Vik es Soran a sing. Pretste st alotet a vie, te Budetesounla Chondreitin 250 mg/kg na éwiecie kuchni Champion Petfoods, Dzigki te karmie Tw) pies bedzie zdrowy i silny, Chondroityna 250 mg/kg

'SLOZENI, Cerstvé vykostind anguskt hovez! (6"). Lerstve wykosténé kant! maso (SY), Cerstvé téné johndti SY). Cerstvé hover! jstre (Si), saat contene: 4 Swiada weiroba
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in deplAkore Lbey. VITAMIN. Viamin A
Pee MEE yaa ony Ek ka tary Smart Tam Eh meats og bb leg mg talento iy rtersaren eer AOA), tok ieee chek DRONE pa ace seat Brean’
pean iets ‘yragheatg ube oe esi arial a Saree SLD BIE 4 UROMAL USNC Sy wrote ne Lae eee Ratha ke Fa oat ettasoL LA Sb eating snes eatnahuvel 120m aPe aarp pocnose aba XE oweco wars 2 2 Wey

‘YYROBCE. CHAMPION PETFOOOS LP 900-0 AVE. MOROVILLE AB, CANADA TOR i 1 MIROSLAV WERER-MLYN, MASARTKOV HORI Ficceoues Gaetan toaa Fo ak moore i lio ie aire A arian wos ESR
TEER ake TREY CT ROME MSE, ai Eee TEL. APOC AAC 250303 FAL We SIS BEE EGLAL INFOUACANA COMPL WOW ACANA.COM PL, WETERYHARTINY WR DENTYFIKAGYINY PLODIONDS

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HU_ ORIEN REGIONAL RED TELICS ERrExO SuARAzeL EDEL KUTAKRESZERE  ANALITIKAI OSSZETEVOK GR_ ORIEN REGIONAL RED

 

 

 

TMPHE TPOOH A ENHAKOPE ZCVAOTE— ANAAYTIKA EYETATIKA

 

 

 

 

 

 

 

 

 

 

 

‘Akkutya a ragadoz6k rend ébe lartozik: viltozatos hisokban gazdag étrendre van sziksége, amely kisebb  Nyersfehérje hos exiles dou reel ws oaprofépe,npocapuonive ya BtpoRH mabe Ka nowy oe epfoxe Npureves
mennyiségben gyimblcsdket és zaldségekel tartalmaz, Nyerszsir 1 Kpéag jue pxxpérepts noaérntes ppodtaw, Anyaviniov ka: Bordvun, Ohixés Amapés Ovoieg
A biolégiai Stata khez a Meee ORWJEN emiatt készil sokféle triss hésbét Angus marha,  Nyershamu % A auté m BiodoyiKd KarddAnhn, ORUEN anes ond craesiins Opermxiic ablag Black Angus Ax a0
vaddisz1 1y. A hasok jelentés része FRISSEN érkezik MINDEN NAP. Nyersrost Bobet oes avy, savin, xen Blowrs dha pyehuntea ot gdp, aa OMA ia a patie Susser Outs
A jsnak (75%) készénhet IAL Sséges fehérjékben,  Kalcium / Foszfor EexeviiCovras uc Kpéas yepdto npurteh 1 xauAhn 0 Foxaypind Geir :on19 | ®Sagopo
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GYARTO. CHAMPION PETFOODS LP. 509-0 AVE. MORINVILLE. ALBERTA CANADA. TOR 1K7, ENO. CO 11.D4PORTOR ACANA Lae EE CREEE APASKEVARIN. CuAMpion PEIFCODS LP. eD- AVENUL
BARATSAG UT2A 12/0, TEL. 34 Do-4e8-c8—09, WCW. OREN O-E31 08K WHW-ORLIENLOR 6220023000084,

 

 

 

 

MORINVILLE. ALUEKTA. CANADA. TRR 1K7, EC NO CO 11. EILAFRFEAL KOMIIA MON EME MPAKABIO —

 

 

 

 

 

ITA ORIJEN REGIONAL RED aumeno coneLeTo pERcAM — COSTITUENTI ANALITICI DK ORIJEN REGIONAL RED FULDFOOER TL WUNDE  ANALYSERET INOHOLD
ir Proteing ‘Alle hunde er, tra naturens side, udviklede som kadadere. De er lilpasset en kost rig pa varieret frisk ked, Protein 8%
peal ‘quanttaiv i fruta, verdura ed erbe, Grassi greggi ‘saml mindre maangder frugt 09 grentsager. Feat 18%
Cone yon sai, | aoe at

Gude hngus nghss apne masle tsicoe sete ce alevomen evens = tue cami consegale Fibre gregia er Karo ORLIEN oanaceniy ope as

FRESCHE OGNI GIORNO per nutrire nel modo pid completo. Calcio / Fosforo: teog Wittig bref sr bios, a scores levers: ESN IVER DAP focal s8 Tee Kaleium / Fosfor 16K %
eet iregi Us over sore meng proin-paet kad QU) or ORLEN ive pl eh taeghanmis frit det | Gate Gretitnacs — LEE/RAE
Acree pla ston paternity Mie educator de onakede hy alr oyster dan bedal mule Wsike sched. Grete ey
Praca nelle nostre pluripremiate cucine con | migtiori bared del Cava, coe REGIONAL REO Glucosamina a by Giucosamin 400 mg/kg
tiene il vostro cane sano e forte - leggete i nostri ingredienti e pensiamo ci daret Condrcitina 09 glad hund, Laes vores ingredienser. si tror vi du giver os ret! Chondroitin sulfat 250 mg/kg

CONES a Ase eee UD, singhiale Gacesslo fresco OX. oe Siacesale fresco SP Iogale. 9 aan ee ee res SAMMENSATNING, Frisk udbenet Angus okseked (6%). frisk udbsnet vildsvin (8%), frisk udbanet lam (S%. trisk okselever (5%), trisk udbenst svineked ¥),

 

 

(SD, dehydroret oksaked (2), dehydraret lam (4%), dehydraret sid (i), dehydroretlaks (4)

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bllbser tang. lakridarod, kvanrod,

 

 

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redder
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